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12
                               IN THE UNITED STATES DISTRICT COURT
13                              NORTHERN DISTRICT OF CALIFORNIA
14                                       SAN JOSE DIVISION

15

16                                                  Case No. 5:24-cv-03567-BLF
17     TEVA PHARMACEUTICALS USA, INC.,
                                                    PLAINTIFF TEVA PHARMACEUTICALS
18                    Plaintiff,                    USA, INC.’S OPPOSITION TO DEFENDANTS
                                                    CORCEPT THERAPEUTICS, INC.’S, AND
19            v.                                    OPTIME CARE INC.’S, JOINT MOTION TO
                                                    DISMISS
20     CORCEPT THERAPEUTICS, INC., AND
       OPTIME CARE INC.,                            Date: February 20, 2025
21
                      Defendants.                   Time: 9:00 a.m.
22                                                  Ctrm: 3 - 5th Floor
                                                    Judge: Honorable Beth Labson Freeman
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 1                                            INTRODUCTION
 2          In a typical, competitive pharmaceutical market, a brand company enjoys high prices and a
 3   large market share until more affordable generic competitors enter the market—at which point prices
 4   quickly fall and patients rapidly switch from the brand drug to its generic equivalents. Federal and
 5   state laws work together to promote generic substitution, enabling generic drugs to drive down prices
 6   and capture large market shares so that patients can benefit from expanded access to more affordable
 7   medicines. That is what reliably happens when pharmaceutical markets work as intended. But not in
 8   the market for Korlym. Korlym is a brand drug that Corcept has sold since 2012. Korlym costs little
 9   to produce. But it has no substitutes, which has allowed Corcept to charge hundreds of thousands of
10   dollars per patient, per year, at profit margins close to 99%. Korlym is Corcept’s only product. To
11   protect its monopoly and its only source of revenue from the existential threat of generic competition,
12   Corcept has engaged in a years-long, multifaceted scheme to suppress generic competition.
13          Corcept’s scheme has three parts. The first is an unprecedented exclusive dealing agreement
14   between Corcept and its specialty pharmacy, Optime Care. Under this agreement, Optime has been
15   the only pharmacy dispensing Korlym since 2017, which has entrenched Optime as the key
16   distribution channel that alone can effectively reach Korlym patients. But Defendants’ agreement
17   hobbles competition by expressly forbidding Optime from distributing any rival products, including
18   generic versions of Korlym. The second part of the scheme is Corcept’s abuse of the patent system.
19   By fraudulently listing patents in the FDA’s Orange Book and filing sham patent infringement
20   litigations, Corcept succeeded in delaying—by years—FDA approval and launch of generic Korlym.
21   The third part of the scheme is a campaign by Corcept to pay bribes and kickbacks to induce
22   prescribers to continue favoring brand Korlym over lower-priced generics.
23          The anticompetitive effects of this scheme are plain to see. Teva launched the first generic
24   version of Korlym in January 2024. As a therapy, Teva’s generic is identical to brand Korlym in all
25   respects. And it has been priced at a material discount to Corcept’s branded product since day one.
26   But Teva has captured virtually zero market share—less than 1% of the market. A result like that is
27   unheard-of. It would be impossible to explain in a properly functioning pharmaceutical market, where
28   first generics reliably capture 60-75% of the market in their first six months, and around 80% in their

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 1   first year. As a result, Corcept and Optime’s anticompetitive scheme has allowed Corcept to maintain
 2   its monopoly and to continue exploiting vulnerable patients by charging supracompetitive prices.
 3          The details and effects of Defendants’ anticompetitive scheme are painstakingly set forth in
 4   Teva’s complaint. Teva’s well-pled allegations easily establish a variety of anticompetitive tactics
 5   and significant, ongoing harm to Teva and to consumers. At every turn, Defendants misstate the law,
 6   ignore Teva’s well-pled allegations, or both. Their motion should be denied.
 7                                             BACKGROUND
 8          Korlym is a once-daily pill that is indicated to treat certain patients with endogenous Cushing’s
 9   syndrome, a rare and debilitating disease that occurs when the body produces too much cortisol.
10   (¶¶58-64.) 1 The FDA approved Korlym in 2012. (¶68.) Korlym qualified as an “orphan drug” under
11   federal law, a status that is “reserved for diseases and conditions that lack adequate treatments.” (¶65-
12   66.) As suggested by Korlym’s orphan drug designation, Korlym has no substitutes. In fact, the FAC
13   alleges—and Defendants do not dispute—that Korlym is in a market of its own, with the market
14   properly defined to include only Korlym and its AB-rated generic equivalents. (¶¶188-201.) As a
15   result, it is undisputed that during the nearly 12 years before Teva entered the market, Corcept had a
16   100% market share, and that Corcept’s market share remains close to 100% even today. (¶¶191-92.)
17          Corcept has taken full advantage of its monopoly power. Publicly available data indicate that
18   a single year’s supply of Korlym costs anywhere from $244,000 to $980,000 per patient. (¶71.) For
19   Corcept, those astronomical prices are almost all profit: Corcept’s profit margins on Korlym are at
20   least 98.7%, meaning Korlym’s price is “77-times the marginal cost of manufacturing it.” (¶72.)
21          Teva sought to break Corcept’s monopoly in 2017 by filing an Abbreviated New Drug
22   Application (“ANDA”) to market a generic version of Korlym. (¶73.) The FAC describes the
23   approval process for brand and generic drugs in detail. (¶¶21-56.) As relevant here, a generic drug
24   can only be approved if the FDA determines it to be “bioequivalent” to the relevant brand drug,
25   meaning it is identical in every pharmacological respect. (¶¶36-37.) As a result, “[t]he only material
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     1
         Unless otherwise noted, “¶” refers to Teva’s First Amended Complaint (“FAC”), all internal
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         citations and quotations are omitted, and all emphases are added.
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 1   difference between generic drugs and their corresponding brand-name versions is their price.” (¶37.)
 2   Generic drugs are cheaper. On average, a first generic launches at a price discount of 18% compared
 3   to the brand. (¶49.) And to promote rapid switching from brand drugs to generics, “every state has
 4   adopted substitution laws that either require or permit pharmacies to substitute bioequivalent generic
 5   drugs for brand drug prescriptions.” (¶50.) But these laws “can only operate as intended if the relevant
 6   pharmacy carries the generic version of the prescribed drug. Otherwise, the pharmacist has nothing
 7   to substitute, and must—of necessity—dispense the brand version.” (¶53.) When the laws work as
 8   intended, pharmaceutical markets exhibit a predictable dynamic: “once a generic drug enters the
 9   market, it quickly captures sales of the corresponding brand drug, often capturing 60-75% or more of
10   the market within the first six months, and usually more than 80% within the first year.” (¶54.)
11          But that dynamic would have been disastrous for Corcept, because Korlym is not only a cash
12   cow—it was (and remains) Corcept’s only product, generating 100% of its revenue. (¶70.) Generic
13   competition is thus an existential threat, which Corcept has tried to forestall by any means necessary.
14          Corcept’s first tactic was to abuse the patent system and the courts to delay Teva’s ability to
15   obtain FDA approval and launch its generic Korlym. (¶¶73-122.) As the FAC explains, brand
16   companies are allowed to list patents that cover their products in a publication called the FDA’s Orange
17   Book—but there are specific criteria that govern whether patents are eligible for Orange Book listing.
18   (¶¶27-31, 90-96.) Orange Book listings are extremely consequential, because “[l]isting a patent in the
19   Orange Book gives brand manufacturers the power, by later suing for infringement of that same listed
20   patent, to trigger an automatic delay of FDA approval of competing generic products for 30 months—
21   regardless of whether the patent is valid or infringed, and regardless of whether the patent was properly
22   listed in the Orange Book.” (¶30.) The FDA, however, “does not review brand companies’ Orange
23   Book listings to ensure that their patents are eligible to be listed there.” (¶31.)
24          Corcept exploited that lack of oversight by listing two patents in the Orange Book for
25   Korlym—the ‘348 and ‘495 patents—despite knowing that these patents plainly were not eligible to
26   be listed there. (¶¶74-100.) As discussed further below, Defendants do not dispute that Corcept
27   fraudulently listed the ‘348 and ‘495 patents in the Orange Book, for the sole purpose of enabling itself
28   to trigger an automatic 30-month stay of FDA approval for Teva’s generic. Nor could Defendants

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 1   dispute that charge; in fact, Corcept’s CFO admitted on an earnings call “that the ‘348 and ‘495 patents
 2   do not have ‘a direct read on the Korlym label’ or any ‘express connection’ to the Korlym label,”
 3   which was “a clear admission that Corcept knew the ‘348 and ‘495 patents never should have been
 4   listed in the Orange Book.” (¶99.) As a result of Corcept’s Orange Book fraud, Teva’s FDA approval
 5   was delayed until August 2020. Had Corcept not fraudulently listed the ‘348 and ‘495 patents in the
 6   Orange Book, Teva would have received FDA approval as early as October 2018, and no later than
 7   February 2019, and in either case Teva would have launched shortly thereafter. (¶¶76-81.)
 8          Corcept would eventually sue Teva for infringing the ‘348, ‘495, and seven other patents—
 9   nine patents in all—through four separate lawsuits filed between 2018 and 2023. As detailed in the
10   FAC and discussed further below, Corcept filed all of these lawsuits as part of a bad-faith scheme to
11   impede and delay Teva’s market entry. (¶¶113-22.) Corcept ultimately voluntarily dismissed claims
12   based on seven of those patents, and lost on the remaining two after a bench trial in late 2023. (¶120.)
13          Despite Corcept’s Orange Book fraud and bad-faith patent litigation, Teva entered the market
14   in January 2024. (¶123.) “Teva’s generic launched at a 13% price discount compared to brand
15   Korlym,” which translated to savings of tens of thousands of dollars per patient, per year, and Teva
16   has maintained a material price discount compared to brand Korlym ever since.               (¶¶126-27.)
17   Nevertheless, “Teva has not captured the expected 60-75% of the market that one nearly always sees.
18   Instead, Teva’s market share has been close to zero, currently standing at approximately 1% of the
19   Korlym market.” (¶128.) The FAC reports that ever since Teva launched, Corcept’s executives have
20   repeatedly boasted on earnings calls that Teva has been unable to make inroads on Corcept’s
21   monopoly.    (¶¶129-30.)    To pick just one example, on July 29, 2024, Corcept’s President of
22   Endocrinology gloated that “‘[t]he Teva product has been available in the channel for many months,
23   so it’s out there, but it has had very little impact on our business.’” (¶130.)
24          Teva’s inability to penetrate the Korlym market is not for lack of effort. On the contrary—in
25   addition to maintaining a material price discount compared to Corcept—“Teva’s product is available
26   and stocked at all major national wholesalers and a specialty wholesaler,” Teva “has made and
27   continues to make the product available to all major national specialty pharmacies, several regional
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 1   specialty pharmacies, and several other national retail pharmacies,” and Teva has “secured pricing on
 2   government contracts.” (¶158; see also ¶168 (describing additional efforts related to insurers).)
 3          What Teva cannot do, however, is distribute its product through Optime. That is because of
 4   Defendants’ unprecedented exclusive dealing agreement. The FAC describes the Corcept-Optime
 5   exclusive dealing agreement in detail. (¶¶135-66.) In short, since 2017, Corcept has distributed
 6   Korlym exclusively through Optime. (¶¶136-37.) But Defendants’ agreement expressly forbids
 7   Optime from distributing competing products, including generic versions of Korlym.             (¶136.)
 8   Defendants’ agreement is “highly unusual in the pharmaceutical industry … an extreme outlier, and
 9   possibly unprecedented.” (¶147.) And it has been extremely effective at stifling competition from
10   Teva. As described at great length in the FAC, “Corcept spent years without competition (years
11   beyond what Corcept lawfully should have enjoyed), and used that time alone on the market to spend
12   millions of dollars cultivating relationships with physicians, incentivizing them to rely on the Optime
13   distribution channel. Having developed entrenched physician prescribing behavior and a sticky
14   distribution channel subject to high switching costs, Corcept is now in a position to thwart generic
15   competition by blocking its rivals’ access to that distribution channel—blocking the most efficient,
16   effective, and profit-maximizing means of market entry—which is exactly what the exclusive-dealing
17   agreement with Optime accomplishes, by prohibiting the dominant pharmacy from distributing
18   generic competitors.” (¶153; see also ¶¶148-66.) Teva’s experience proves that “[t]he economic
19   reality” in the Korlym market is that generics are “reliant on access to Optime to compete, but
20   Corcept’s exclusive agreement with Optime has cut Teva off from the key pharmacy pipeline that is
21   necessary to permit Teva to compete effectively.” (¶161.)
22          Were these anticompetitive effects not bad enough, they have been exacerbated by “a years-
23   long campaign” by Corcept “to steer prescribers … away from Teva’s generic—specifically, by
24   bribing physicians and other practitioners to prescribe brand Korlym by making unlawful payments
25   as compensation for prescriptions.” (¶167.) The FAC alleges the details of this scheme at length.
26   (¶¶167-87.) In brief, publicly available payment and Medicare prescription data shows that from at
27   least 2017 through the present, Corcept has been making enormous payments to prescribers, right
28   around the time those prescribers began submitting large numbers of Korlym claims to Medicare.

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 1   Nothing about these payments appears ordinary by industry standards. On the contrary, Corcept’s
 2   payments “are astronomical and far outside the norm.” (¶184.) Corcept has been making payments
 3   to prescribers that are multiples—sometimes double-digit, or even triple-digit multiples—of what
 4   similar prescribers received from all other manufacturers combined over the same time periods. (Id.)
 5          The publicly available payment and prescription data described in the FAC is necessarily
 6   limited, and cannot reveal the full scope of Corcept’s bribery and kickback scheme, including “details
 7   on which doctors have prescribed Korlym over the years, how much Corcept and any of its affiliates
 8   have paid them during that time, and whether the payments had any legitimate purpose.” (¶173; see
 9   ¶¶171-72, 176, 180.) But the available data raises a strong inference that Corcept “has engaged in a
10   years-long campaign to funnel illicit kickbacks to physicians as compensation for prescribing brand
11   Korlym, and that this bribery campaign is ongoing.” (¶173.) These allegations are supported by an
12   extensive analysis of publicly available payment and prescription data, and are reinforced by the
13   existence of an ongoing investigation into Corcept’s prescriber payments by the U.S. Attorney’s Office
14   for the District of New Jersey, reporting by investigative journalists, and allegations by confidential
15   informants in a securities class action. (¶¶167-87.) In light of this evidence, the FAC alleges that
16   “Corcept’s unlawful payments to physicians are a material factor that has caused physicians to
17   continue prescribing brand Korlym, and routing their prescriptions to Optime, notwithstanding the
18   availability of Teva’s lower-priced generic,” which has “contribut[ed] in material respects to Corcept’s
19   overall scheme to deny Teva access to the Korlym market.” (¶186.)
20                                               ARGUMENT
21          When considering a motion to dismiss, the Court must “take all allegations of fact as true and
22   construe them in the light most favorable to the nonmoving party.” Sinclair v. City of Seattle, 61 F.4th
23   674, 678 (9th Cir. 2023). “A claim has facial plausibility when the plaintiff pleads factual content that
24   allows the court to draw the reasonable inference that the defendant is liable for the misconduct
25   alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
26          Teva brings claims under Sections 1 and 2 of the Sherman Act, and various state-law analogs.
27   “Section 1 of the Sherman Act prohibits unreasonable contracts or combinations in restraint of trade.”
28   Feitelson v. Google Inc., 80 F. Supp. 3d 1019, 1026 (N.D. Cal. 2015); 15 U.S.C. §1. Section 2

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 1   violations consist of two elements: (1) possession of monopoly power—which here is undisputed as
 2   to Corcept—and (2) “maintenance of that power as distinguished from growth or development as a
 3   consequence of a superior product, business acumen, or historic accident.” Eastman Kodak Co. v.
 4   Image Tech. Servs., Inc., 504 U.S. 451, 481 (1992); 15 U.S.C. §2. Defendants do not contend that
 5   there is any difference in the legal framework that applies to Teva’s Section 1 and Section 2 claims.
 6   I.      TEVA’S EXCLUSIVE DEALING CLAIM IS PLAUSIBLE AND TIMELY.
 7           A.     Teva’s Exclusive Dealing Claim Is Plausible On The Merits.
 8           The law governing exclusive dealing is not complicated. An exclusive dealing contract
 9   violates the Sherman Act “if its effect is to foreclose competition in a substantial share of the line of
10   commerce affected.” Tevra Brands LLC v. Bayer HealthCare LLC, 2024 WL 1909156, at *3 (N.D.
11   Cal. May 1, 2024). Courts consider several factors when assessing the anticompetitive effects of an
12   exclusive dealing agreement, including whether the agreement has a “substantial foreclosure” effect,
13   measured as “the percentage of the market foreclosed by [the] exclusive agreement[],” id. at *9-10;
14   whether alternative distribution channels are effective at allowing the defendant’s competitors to
15   “reach the ultimate consumers of the product” in question, id. at *9; and whether the agreement is
16   “short-term and easily terminable,” id. at *7-8. Courts also consider whether an exclusive dealing
17   agreement is “incentive-based,” meaning whether it allows the defendant’s rivals to “lure … away”
18   the defendant’s contracting parties by offering better terms. Feitelson, 80 F. Supp. 3d at 1030-31. In
19   addition, courts have considered “whether the defendant engaged in coercive behavior” to pressure its
20   counterparty to accept the exclusive arrangement, as well as whether “competitors of the defendant”
21   employ similar exclusive dealing agreements. In re Mylan N.V. Sec. Litig., 666 F. Supp. 3d 266, 292
22   (S.D.N.Y. 2023). Here, every one of these considerations favors Teva.
23           1.     Defendants’ agreement has a substantial foreclosure effect.

24           To determine the foreclosure effect of the Corcept-Optime exclusive dealing agreement, the

25   Court must estimate “the percentage of the market foreclosed by [Defendants’] exclusive

26   agreement[].” Tevra, 2024 WL 1909156, at *9. There are two steps to this analysis. The first step

27   asks: in a properly defined market that includes Korlym, what percentage of product sales are subject

28   to the exclusive agreement? The second step asks: are there alternative distribution channels that are


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 1   practically effective at allowing Teva to reach the ultimate consumers of Korlym—i.e., patients and
 2   their health plans—bearing in mind that “[t]he mere existence of other avenues of distribution is
 3   insufficient without an assessment of their overall significance to the market.” Id. If practically
 4   effective alternative channels exist, those alternative channels may be included in the denominator to
 5   calculate the percentage of the market that is foreclosed by Defendants’ exclusive dealing agreement.
 6   Id. at *9-10.   But if practically effective alternative channels do not exist, then the exclusive
 7   agreement’s foreclosure effect is equal to the percentage of sales in the Korlym market that are
 8   distributed through Optime, see id., which here is close to 100% (¶148).
 9          This is the framework courts routinely use to calculate foreclosure effects in exclusive dealing
10   cases. See, e.g., Tevra, 2024 WL 1909156, at *9-10; United States v. Microsoft, 253 F.3d 34, 69-71
11   (D.C. Cir. 2001) (holding that an exclusive agreement’s foreclosure effect is equal to “the share of the
12   market foreclosed” by the exclusive agreement); ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, 286
13   (3d Cir. 2012) (basing foreclosure on the percentage “of the market remaining open,” that is, not
14   covered by the defendant’s exclusive agreements); Areeda & Hovenkamp, Antitrust Law: An Analysis
15   of Antitrust Principles and Their Application, ¶1821d4 (2024 online ed.) (explaining framework).
16          To answer the first question—in a properly defined market that includes Korlym, what
17   percentage of sales are subject to Defendants’ exclusive agreement—the Court must first define the
18   relevant market. Here, that step is easy, because Defendants do not dispute that the relevant market is
19   limited to brand Korlym and its AB-rated generic equivalents. (¶¶188-201.) The FAC’s detailed
20   allegations make clear that Korlym has no meaningful substitutes, which explains why Corcept has
21   been able to charge hundreds of thousands of dollars per patient, per year, at profit margins of nearly
22   99%. (¶72.) The FAC’s allegations further show that Corcept can unilaterally impose significant
23   price increases without losing any noticeable business. (¶¶193-96.) Korlym’s status as an orphan
24   drug further indicates that Korlym and its generic equivalents are in a market of their own, because
25   orphan drug status is reserved for drugs that treat conditions that lack alternatives. (¶66.) In light of
26   these circumstances—and in particular, the demonstrated absence of any cross-price elasticity between
27   Korlym and other products—it is no wonder that Defendants do not dispute Teva’s allegation that the
28   relevant market is defined as Korlym and its AB-rated generic equivalents. See, e.g., UFCW v. Teikoku

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 1   Pharma USA, 296 F. Supp. 3d 1142, 1171 (N.D. Cal. 2017) (holding that “in the pharmaceutical
 2   context courts have limited the market to … the brand product itself in absence of cross-elasticity
 3   evidence”). And because all of Corcept’s sales of brand Korlym go through Optime—and because
 4   Corcept’s sales of brand Korlym account for nearly 99% of all sales in the Korlym market—it follows
 5   that the Corcept-Optime agreement has a foreclosure effect of approximately 99%. (¶148.)
 6          The second question is whether that 99% foreclosure effect should be reduced to account for
 7   the presence of practically effective alternative distribution channels that Teva could use to “reach the
 8   ultimate consumers” of Korlym. Tevra, 2024 WL 1909156, at *9. The answer is no. The FAC’s
 9   detailed allegations establish that alternative distribution channels might be theoretically available, but
10   they are not practically effective as ways for Teva to reach the ultimate consumers of Korlym. Teva’s
11   allegations show that Teva has been working diligently to reach the ultimate consumers of Korlym by
12   attempting to sell through other distribution channels. (¶¶158-60.) But Teva’s allegations—and
13   Corcept’s own public statements—confirm that Teva has not been able to reach end users of Korlym
14   through those alternative distribution channels. (¶¶158-60.) In Corcept’s own words, “‘we are not
15   aware of losing any patients to generic mifepristone,’” and “‘[t]he Teva product has been available in
16   the channel for many months, so it’s out there, but it has had very little impact on our business.’”
17   (¶129-30.) That is why Teva’s market share stands at around 1%, despite the fact that Teva has been
18   the only generic version of Korlym on the market since January 2024, and has been priced at a material
19   discount to brand Korlym for that entire time. (¶¶126-28.) Under the law of exclusive dealing, these
20   facts mean that alternative distribution channels are not practically effective in the Korlym market,
21   and should not be included in the “substantial foreclosure” analysis. E.g., Tevra, 2024 WL 1909156,
22   at *9-10; United States v. Dentsply Int’l, Inc., 399 F.3d 181, 196 (3d Cir. 2005).
23          As a result, the foreclosure effect of the Corcept-Optime exclusive dealing agreement is
24   approximately 99%. Such a high foreclosure effect undoubtedly qualifies as “substantial foreclosure.”
25   Tevra, 2024 WL 1909156, at *10; Feitelson, 80 F. Supp. 3d at 1030.
26          Defendants have no good answer to this straightforward analysis. They first argue that Teva
27   has failed “to define the relevant distribution market from which it alleges it has been foreclosed.”
28   (MTD Br. 17.) If Defendants are suggesting that the foreclosure analysis should focus on whether

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 1   Teva can contract with other distributors, that argument is plainly wrong. The question is not whether
 2   Teva can reach middlemen in the supply chain; the question is whether Teva can “reach the ultimate
 3   consumers” of Korlym, i.e., patients. Tevra, 2024 WL 1909156, at *9. Furthermore, “[a]s the Ninth
 4   Circuit has made clear, ‘the relevant market must be a product market,’” not a distribution market.
 5   Nicolosi Distrib., Inc. v. FinishMaster, Inc., 2019 WL 1560460, at *6 (N.D. Cal. Apr. 10, 2019). As
 6   discussed above, the relevant market is indisputably defined as Korlym and its AB-rated generics.
 7   That is the market as to which foreclosure must be measured. Tevra, 2024 WL 1909156, at *9.
 8          Defendants then insist that their exclusive agreement cannot have a substantial foreclosure
 9   effect because the relevant market cannot only include Optime, and because their agreement leaves
10   Teva free to compete through distribution channels other than Optime, including other pharmacies and
11   wholesalers. (MTD Br. 17-19.) This argument fails, because—as discussed above—under the law of
12   exclusive dealing, alternative distribution channels are relevant only if they are practically effective at
13   allowing the defendant’s rival to “reach the ultimate consumers of the product” in question. Tevra,
14   2024 WL 1909156, at *9. Defendants’ argument ignores this fundamental point.
15          For example, in Tevra, the Court explained that “[t]he mere existence of other avenues of
16   distribution is insufficient without an assessment of their overall significance to the market.” 2024
17   WL 1909156, at *9. The Court quoted the Third Circuit’s influential opinion in Dentsply, in which
18   the Third Circuit held that an exclusive distribution agreement in the market for artificial teeth was
19   unlawful even though it only locked up certain dealers, and left rivals free to compete through other
20   channels—including through other dealers and through direct sales, which could bypass dealers
21   altogether—because “[t]he reality is that over a period of years, because of Dentsply’s domination of
22   dealers, [alternative distribution channels] have not been a practical alternative for most
23   manufacturers. It has not been so much the competitors’ less than enthusiastic efforts at competition
24   that produced paltry results, as it is the blocking of access to the key dealers…. The reality in this case
25   is that the firm that ties up the key dealers rules the market.” 399 F.3d at 189-90.
26          The well-pled allegations in the FAC show that exactly the same dynamic is true in the market
27   for Korlym. Corcept spent more than a decade alone on the market (including as a result of its unlawful
28   Orange Book and patent litigation misconduct). It used that time without competition to establish

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 1   Optime as the key pharmacy that prescribers use to dispense Korlym, which competitors like Teva
 2   must be able to access if they want to threaten Corcept’s monopoly. Teva’s experience since launching
 3   is the most powerful evidence available that alternative pharmacies and wholesalers are not “a practical
 4   alternative,” and that Corcept’s ability to “tie[] up the key dealer” has allowed Corcept to “rule[] the
 5   market.” Id. Contrary to Defendants’ argument, “[t]he proper inquiry is not whether [alternative
 6   channels] enable a competitor to ‘survive’ but rather whether [competing through alternative channels]
 7   ‘poses a real threat’ to defendant’s monopoly.” Id. at 193. In this case, there is no question that
 8   alternative channels have not allowed Teva to pose a real threat to Corcept’s monopoly.
 9          Just a few months ago, Google made the same argument Defendants make here, in a major
10   antitrust case brought by the Department of Justice, but the court had no trouble rejecting it and holding
11   Google’s exclusive agreements unlawful. United States v. Google LLC, 2024 WL 3647498, at *106
12   (D.D.C. Aug. 5, 2024). Like Defendants here, Google argued that “there is no foreclosure at all [in
13   the market for general search engine queries] because [Google’s] distribution agreements still permit
14   rivals to compete for queries” through other channels. Id. The court rejected that argument because
15   the evidence showed that Google’s exclusive agreements locked up “the most efficient channel for
16   reaching search consumers… Sure, users can access Google’s rivals by switching the default search
17   access point or by downloading a rival search app or browser. But the market reality is that users
18   rarely do so. The fact that exclusive agreements allow users to reach rivals through other means does
19   not make the foreclosure number zero.” Id. The court’s decision echoed this Court’s analysis in
20   Feitelson, 80 F. Supp. 3d at 1031—another case against Google—in which the Court recognized that
21   “[a]s a practical matter, although other distribution channels for Internet search products do exist, the
22   allegations demonstrate that the default search setting on mobile devices is the most effective and cost-
23   efficient method of distribution. Taken as true, the allegations suggest that alternative distribution
24   methods are viable but not effective compared to the default search setting status.” The same is true
25   here. As a practical matter, the market reality is that prescribers rarely send Korlym prescriptions to
26   pharmacies other than Optime, which makes Optime the only efficient channel for reaching patients.
27   That market reality means Defendants’ agreement has a substantial foreclosure effect.
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 1          Many other cases reinforce the fundamental point that alternative distribution channels do not
 2   factor into the substantial foreclosure analysis unless market realities show that they are practically
 3   effective at allowing a rival to threaten the defendant’s monopoly. For example, in LePage’s, Inc. v.
 4   3M, 324 F.3d 141, 160-62 (3d Cir. 2003), the Third Circuit held that 3M violated §2 by using exclusive
 5   dealing agreements to “cut LePage’s off from key retail pipelines necessary to permit it to compete
 6   profitably,” because—even though LePage’s had alternative distribution channels open to it—3M’s
 7   agreements “foreclosed LePage’s from [the most] critical bridge to consumers.” Id. at 160 & n.14.
 8   Likewise, in Microsoft, 253 F.3d at 70-71, the D.C. Circuit held that Microsoft’s exclusive deals with
 9   Internet Access Providers violated §2 because—even though Microsoft’s agreements did not foreclose
10   all channels of competition—they “‘severely restricted Netscape’s access to those distribution
11   channels leading most efficiently to the acquisition of browser usage share,’” and effectively helped
12   “keep usage of Navigator below the critical level necessary for Navigator or any other rival to pose a
13   real threat to Microsoft’s monopoly.” See also, e.g., United States v. Visa U.S.A., Inc., 344 F.3d 229,
14   240 (2d Cir. 2003) (“The most persuasive evidence of harm to competition is the total exclusion of
15   American Express and Discover from a segment of the market for network services,” even though
16   Amex and Discover were free to attempt competing through alternative channels.).
17          Insofar as Defendants insist that their exclusive agreement does not foreclosure competition
18   because Teva has the theoretical ability to compete through other channels, the response is simple:
19   “market realities matter more than what is theoretically possible,” Google, 2024 WL 3647498, at *100,
20   and “[t]he paltry penetration in the market by [Teva] ... has been a refutation of [Defendants’] theory
21   by tangible and measurable results in the real world,” ZF Meritor, 696 F.3d at 285.
22          These cases also show that Defendants are wrong to assert that “Teva’s attempt to state an
23   antitrust claim based on others providing better services than Teva turns antitrust law on its head.”
24   (MTD Br. 19.) For one thing, Teva disputes that prescribers have continued choosing Optime only
25   because Defendants provide better services than Teva. Rather, the FAC contains detailed allegations
26   that (1) it is pretextual for Defendants to say they provide valuable services, given that Korlym is a
27   once-daily oral pill that is easily administered and does not require the services of a specialty pharmacy
28   (¶164); (2) prescribers continue relying on Optime because their prescribing patterns became

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 1   entrenched during the many years Corcept was the only competitor in the market, which Corcept used
 2   to cultivate relationships with the small number of prescribers in the market and to heavily promote
 3   both Korlym and Optime (¶¶149-54); (3) prescribers continue relying on Optime because the Korlym
 4   market is “sticky” and prescribers face high switching costs (¶¶159-66); and (4) at least some
 5   prescribers continue relying on Optime because Corcept is paying them illicit bribes and kickbacks
 6   (¶¶167-87). These detailed allegations must be assumed true at the pleadings stage, and they foreclose
 7   Defendants’ assertion that Teva is merely attempting to free ride. In fact, Teva is not attempting to
 8   free ride; as alleged in the FAC, “Corcept could pay Optime to provide services to patients who receive
 9   brand Korlym, without forbidding Optime from distributing generic competitors—and patients who
10   truly valued those services could simply pay a premium to stick with the brand and continue receiving
11   whatever services Corcept and Optime provide. That Corcept has chosen not to compete on the merits
12   in this fashion shows that the ‘services’ Corcept touts are pretextual, and that Defendants’
13   unprecedented exclusive-dealing agreement serves no legitimate end.” (¶165.)
14          In addition, even if prescribers did choose Optime solely because Defendants provide valuable
15   services, that would not save Defendants’ exclusive dealing agreement, because the caselaw makes
16   clear it is no defense for a dominant firm to assert that a foreclosed distribution channel is simply more
17   efficient than alternatives, or to insist that consumers have legitimate reasons to prefer the foreclosed
18   distribution channel over alternative, but less effective, channels. For example, Dentsply catalogued
19   a list of reasons why dental labs preferred purchasing false teeth through Dentsply’s network of
20   dealers, see 399 F.3d at 191-93, just as Microsoft explained why consumers preferred the Internet
21   Explorer browser that was already installed on their desktops, see 253 F.3d at 70. Feitelson similarly
22   recognized that Google’s exclusive agreements cut rivals off from “the most effective and cost-
23   efficient method of distribution,” 80 F. Supp. 3d at 1031. In fact, in all of the cases discussed above,
24   the distribution channel subject to exclusive dealing was the most efficient, cost-effective channel
25   precisely because it was the channel consumers preferred. But those preferences only exacerbated the
26   antitrust problem, because they explained why the exclusive agreements, which blocked competitors’
27   access to those preferred distribution channels, were effective at foreclosing rivals and preserving the
28   dominant firm’s monopoly. Exactly the same is true here. (¶¶163-65.)

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 1          Defendants rely on the Ninth Circuit’s Omega decision, but that case gives them no help
 2   because it is a post-trial decision and is fully consistent with the cases discussed above. In particular,
 3   Omega recognized that for purposes of a foreclosure effects analysis, alternative distribution channels
 4   are relevant only if they allow a competitor to “reach the ultimate consumers of the product” in reality,
 5   not just in theory. Omega Env’t, Inc. v. Gilbarco, Inc., 127 F.3d 1157, 1163 (9th Cir. 1997). In
 6   Omega, “[t]he record contain[ed] undisputed evidence that direct sales to end-users [were] an
 7   alternative channel of distribution” that was highly effective at reaching consumers in reality, and the
 8   record contained additional “undisputed evidence of potential alternative sources of distribution” that
 9   would likewise be effective in practice. Id. Those market dynamics bear no resemblance to the market
10   for Korlym, where Teva’s experience and allegations show that alternative distribution channels are
11   not effective at reaching the ultimate consumers of Korlym. Furthermore, in Omega, the exclusive
12   contracts all had expiration dates within one year, and 90% of affected dealers were free to terminate
13   their agreements for any reason “on 60 days notice,” which meant that “a competing manufacturer
14   need only offer a better product or a better deal to acquire their services.” Id. at 1164. As discussed
15   below, however, Optime is not free to terminate its exclusive arrangement with Corcept, no matter
16   how good a deal Teva offers, which exacerbates the foreclosure effects of the exclusive agreement.
17          Defendants also misread PNY Technologies., Inc. v. SanDisk Corp., 2014 WL 2987322 (N.D.
18   Cal. July 2, 2014). In that case, the plaintiff failed to allege why it could not persuade the defendant’s
19   distributors to terminate their agreements and switch to the plaintiff, which indicated that the
20   agreements were “short-term [and] easily terminable.” Id. at *7-8. As discussed below, the situation
21   with Corcept and Optime is the opposite. In addition, the plaintiff in PNY Technologies failed to allege
22   that alternative distribution channels were practically ineffective at allowing it to “reach ultimate
23   consumers.” Id. at *9. Here, as discussed at length above, that is exactly what Teva has alleged.
24          2.      Defendants’ agreement is not short-term or easily terminable.
25          Defendants argue that their exclusive agreement does not raise antitrust concerns because it
26   has a three-year term. (MTD Br. 19.) This argument fails for many reasons. As an initial matter, the
27   exclusive arrangement has been in place since 2017—more than seven years ago—and it provides for
28   automatic renewal on three-year terms. (¶137.) Moreover, even if three-year terms are not inherently

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 1   long-term, the FAC alleges in detail “that the contractual provisions at issue [are] ‘de facto long term
 2   and not easily terminable,’” because “the complaint ‘sets out the reasons [Optime] allegedly cannot
 3   easily terminate [its] agreement[] with [Corcept].” Tevra, 2024 WL 1909156, at *1. For one, Optime
 4   does not “have a unilateral right to terminate without cause,” and the agreement “can be terminated
 5   only upon breach,” which means that Optime “cannot easily exit the agreement[].” Google, 2024 WL
 6   3647498, at *108; (¶141). For another, the FAC alleges that Corcept uses “monetary levers to pressure
 7   [Optime] to exclusively carry [Corcept’s] name brand [Korlym].” Tevra, 2024 WL 1909156, at *8.
 8   Specifically, as alleged in the FAC, “Optime was founded in 2015, and for many years, Corcept was
 9   its only supplier, and Korlym was the only drug it distributed. Those circumstances made Optime
10   entirely dependent on Corcept; Optime could not risk losing its only supplier, and so felt obligated to
11   accede to whatever terms Corcept demanded.” (¶145.) To this day, “Optime remains heavily
12   dependent on its relationship with Corcept for the survival of its business, and remains under intense
13   pressure to accede to contractual terms demanded by Corcept. Statements from Optime employees to
14   Teva made clear Optime’s belief that if it were to distribute Teva’s generic mifepristone product,
15   Corcept would stop supplying it with brand Korlym and would likely never do business with it again.
16   Such retaliation would be very damaging to Optime.” (¶146.)
17          These circumstances mean the Corcept-Optime agreement “is not incentive-based,” because
18   Optime must remain in the agreement “regardless of whether adhering to the exclusivity provision is
19   in Optime’s best financial interests, and regardless of whether Teva or any other generic company
20   offers lower pricing or other incentives that Corcept refuses to match.” (¶144.) These dynamics were
21   manifest on May 1, 2024, when Teva tried to lure Optime away from its exclusive arrangement by
22   offering better terms. (¶139.) These efforts failed, because “Optime’s representatives made clear that
23   there was nothing Teva could do to gain access to the Optime distribution channel. Optime’s
24   employees described the agreement with Corcept as an ‘evergreen’ contract that effectively has no
25   expiration date and that Optime is not free to terminate. During this meeting, Optime representatives
26   would not even entertain a bid from Teva, even though Optime could potentially make more money
27   by distributing Teva’s generic…. Optime explained that it was not allowed to distribute Teva’s
28   product, no matter what terms Teva might propose.” (¶139.)

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 1           Under the law of exclusive dealing, these facts easily demonstrate that Defendants’ agreement
 2   is not short-term or easily terminable. Tevra, 2024 WL 1909156, at *8 (“This evidence of pressure
 3   and monetary incentives not to carry imidacloprid generics is enough to create a genuine dispute of
 4   material fact as to whether Bayer’s agreements are not short-term and easily terminable.”); Feitelson,
 5   80 F. Supp. 3d at 1030-31 (exclusive agreement raises antitrust concerns if it is not “incentive-based”).
 6   Simply put, “[t]his is not a market where ‘a competitor can simply wait for contracts to expire or make
 7   alluring offers to initiate termination,’” and this “lack of flexibility for [Optime] to exit the distribution
 8   agreement[] reinforces [its] foreclosure effect.” Google, 2024 WL 3647498, at *108-09.
 9           3.      Other considerations demonstrate the agreement’s anticompetitive effects.
10           In addition to the factors discussed above, courts evaluating exclusive dealing agreements
11   consider “whether the defendant engaged in coercive behavior” in convincing its distributor to accept
12   the exclusive arrangement, as well as whether “competitors of the defendant” use similar exclusive
13   dealing agreements. In re Mylan, 666 F. Supp. 3d at 292; ZF Meritor, 696 F.3d at 271-72, 284-85.
14           As to the coercive nature of the agreement, the allegations recounted above show that Optime’s
15   heavy degree of financial dependency on Corcept has allowed Corcept “to coerce … one-sided terms
16   in its agreement with Optime.” (¶145.) Specifically, “the agreement is severely one-sided in favor of
17   Corcept,” including because “Corcept has the right to terminate the distribution agreement for
18   convenience at any time, but Optime does not,” and that Corcept has the right to render the agreement
19   non-exclusive with respect to itself—meaning Corcept can unilaterally give itself the right to distribute
20   Korlym through other pharmacies—but “Optime has no similar right to modify its obligation to
21   exclude all products that compete with Korlym.” (¶¶140-41 & n.111.) This evidence of coercion
22   heightens the antitrust concerns. ZF Meritor, 696 F.3d at 272; Mylan, 666 F. Supp. 3d at 292.
23           In addition, there is no comparable “use of exclusive dealing” by Defendants’ competitors. ZF
24   Meritor, 696 F.3d at 272; Mylan, 666 F. Supp. 3d at 292. This “agreement is highly unusual in the
25   pharmaceutical industry. Teva does not have—and is not aware of other manufacturers having—any
26   such agreements with pharmacies that include this sort of one-sided, blanket, perpetual exclusivity
27   that expressly forbids the pharmacy from distributing competitor products.” (¶147.)
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 1          On top of all that, the Corcept-Optime agreement is highly detrimental to competition because
 2   it circumvents state generic substitution laws. As explained in the FAC, state substitution laws are
 3   designed to promote rapid switching from brand drugs to generic drugs upon generic entry, to save
 4   consumers money, but substitution laws cannot function if a prescription is routed to a pharmacy that
 5   does not stock the generic. (¶¶50-53.) The Corcept-Optime agreement is therefore especially
 6   anticompetitive because it frustrates “the operation of state substitution laws,” and “‘deprives potential
 7   generic manufacturers a prescription base for their generic version of the [brand] drug,’” because when
 8   Korlym prescriptions are routed to Optime, “the brand drug cannot be automatically substituted for
 9   the generic at the pharmacy counter.” Iron Workers Dist. Council of New England Health & Welfare
10   Fund v. Teva Pharm. Indus. Ltd., 2024 WL 2025572, at *2 (D. Mass. May 7, 2024).                      This
11   anticompetitive effect is by design. In fact, Corcept has publicly boasted about having “put in place a
12   ‘tightly controlled model’ that ensures that ‘this is not your typical pharmaceutical market’ and
13   ‘automatic substitution does not happen ... like you see in a lot of these cases.’” (¶156.)
14          B.      Teva’s Exclusive Dealing Claim Is Timely.
15          Defendants argue that Teva’s exclusive dealing claim is time-barred under the Clayton Act’s
16   four-year statute of limitations, because Corcept and Optime first entered an exclusive arrangement in
17   2017. This argument is wrong many times over. As an initial matter, “statute of limitations defenses
18   often require a fact-intensive investigation that is inappropriate on a motion to dismiss.” 24/7
19   Customer, Inc. v. 24-7 Intouch, 2015 WL 1522236 at *4 (N.D. Cal. Mar. 31, 2015). Regardless,
20   Defendants’ statute of limitations argument fails for numerous independent reasons.
21          First, Defendants overlook that Teva’s generic Korlym did not enter the market until January
22   2024, and was legally forbidden from entering the market until it obtained FDA approval in August
23   2020. (¶¶45, 77, 123.) As a result, Teva had no cause of action to challenge Defendants’ exclusive
24   dealing agreement until January 2024, and could not possibly have had a cause of action before August
25   2020, because “a cause of action” only “accrues” under the antitrust laws when a plaintiff “feels the
26   adverse impact of an antitrust conspiracy.” Zenith Radio Corp. v. Hazeltine Rsch., Inc., 401 U.S. 321,
27   339 (1971). Defendants’ exclusive dealing agreement has injured Teva by “blocking Teva’s access to
28   the key distribution channel and cutting off patients from accessing Teva’s lower-priced generic

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 1   product.” (¶5.) But that “injury” was not inflicted until Teva entered the market and felt the effects
 2   of the exclusive dealing agreement, and could not have been inflicted during a time when Teva was
 3   legally forbidden from being on the market. As the Supreme Court recently explained, “a cause of
 4   action accrues ‘on the date that damage is sustained and not the date when causes are set in motion
 5   which ultimately produce injury.’” Corner Post, Inc. v. Bd. of Governors of Fed. Rsrv. Sys., 144 S.
 6   Ct. 2440, 2451 (2024). Teva’s cause of action thus did not accrue until January 2024, and could not
 7   possibly have accrued before August 2020. Either way, this suit—filed in June 2024—is timely.
 8          Second, Teva could not have challenged Defendants’ exclusive dealing agreement before its
 9   product was on the market—and certainly not before it had FDA approval—because Teva would not
10   have been able to allege causation or antitrust injury, which again proves that Teva’s cause of action
11   accrued within the limitations period. As the Supreme Court has explained, “a cause of action ‘does
12   not become complete and present for limitations purposes’—it does not accrue—‘until the plaintiff
13   can file suit and obtain relief.” Id. But Teva would not have been able to file suit and obtain relief
14   until its product had FDA approval and was on the market. E.g., Aventis Pharma S.A. v. Amphastar
15   Pharms., Inc., 2009 WL 10674453, at *2-3 (C.D. Cal. May 15, 2009) (“To state any substantive
16   antitrust claim, Amphastar must allege that Aventis caused it antitrust injury. To suffer antitrust injury,
17   Amphastar must be ‘an actual competitor or one ready to be a competitor.’… However, Amphastar
18   is presently excluded from the market because it lacks FDA approval…. Therefore, … Amphastar
19   does not plead causation and antitrust injury.”); Bourns, Inc. v. Raychem Corp., 331 F.3d 704, 711
20   (9th Cir. 2003) (“Only an actual competitor or one ready to be a competitor can suffer antitrust
21   injury.”); Ethypharm S.A. France v. Abbott Lab’ys, 707 F.3d 223, 237 (3d Cir. 2013) (“Ethypharm did
22   not suffer antitrust injury because it does not and indeed cannot compete in the United States
23   fenofibrate market, unless and until it acquires the required FDA approval to do so.”).
24          Third, it is well established that the antitrust statute of limitations does not begin to run if a
25   lawsuit would be too speculative to support a cause of action—and it is equally well established that
26   a lawsuit by Teva would have been too speculative before Teva obtained FDA approval and entered
27   the market. E.g., Samsung Elecs. Co. v. Panasonic Corp., 747 F.3d 1199, 1204-05 (9th Cir. 2014)
28   (“At the time of the adoption of the 2003 license, Samsung was not in the SD card market, and neither

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 1   Samsung nor the SD Defendants could have known for certain whether Samsung would enter that
 2   market…. Because the harm to Samsung challenged in this suit was speculative at the time of the
 3   initial wrong, the law of limitations in federal antitrust actions allowed Samsung to file suit once the
 4   harm crystallized in 2006 [i.e., when Samsung entered the market].”); Oliver v. SD-3C LLC, 751 F.3d
 5   1081, 1087 (9th Cir. 2014) (holding that antitrust statute of limitations did not run until plaintiff entered
 6   the market because antitrust suit before then would have been too speculative).
 7           On top of all that, Defendants have taken multiple actions that restarted the limitations period
 8   on their exclusive dealing agreement. First, the FAC alleges that Defendants have amended their
 9   agreement “three times since 2017,” changing the terms each time, including twice in 2022 and a
10   comprehensive amendment in 2024. (¶¶138, 143 & n.111.) Each amendment restarted the limitations
11   period. Samsung, 747 F.3d at 1204 (statute of limitations restarts “when conspirators continue to meet
12   to fine-tune their cartel agreement”). Second, Defendants took actions to enforce their exclusive
13   agreement in May 2024, when Optime refused to “entertain a bid from Teva” because “the exclusivity
14   provisions” of Defendants’ agreement forbade Optime from distributing Teva’s product, “no matter
15   what terms Teva might propose.” (¶139.) That was an “overt act” that restarted the limitations period.
16   Samsung, 747 F.3d at 1203-04 (“[A]n action taken under a pre-limitations contract [is] sufficient to
17   restart the statute of limitations so long as the defendant had the ability not to take the challenged
18   action, even if that would have required breaching the allegedly anti-competitive contract…. We have
19   repeatedly held that acts taken to enforce a contract were overt acts that restarted the statute of
20   limitations.”). Third, the limitations period restarted every time Defendants took actions to “steer”
21   patients to Optime, id. at 1203, which they have done—and continue to do—through a variety of
22   ongoing tactics alleged in the FAC. (E.g., ¶¶150-56, 161-66, 167-87.)
23           Defendants have no good response to these arguments. Defendants fail to acknowledge that
24   Teva only received FDA approval in August 2020, and only entered the market in January 2024—
25   which means the clock could not have begun running until August 2020 (at the earliest) for the variety
26   of independent reasons set forth above. That oversight alone is sufficient to defeat Defendants’ statute
27   of limitations argument. In addition, Defendants insist that their three contractual amendments did
28   not restart the limitations period because the amendments supposedly did not change the exclusivity

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 1   provision (MTD Br. 16), but this argument misstates the law; the statute of limitations restarts “when
 2   conspirators continue to meet to fine-tune their cartel agreement,” full stop, Samsung, 747 F.3d at
 3   1204, which Defendants unquestionably have done at least three times since 2022. Plus, unredacted
 4   versions of the agreement are not publicly available, so it is impossible to say whether the amendments
 5   affected the exclusivity provision. Defendants also assert that the Teva-Optime meeting in May 2024
 6   was insufficient to restart the clock because the FAC des not allege who attended the meeting (MTD
 7   Br. 16-17), but again, that is not the law; Defendants cite nothing in support of that argument, and the
 8   FAC clearly pleads that Optime took actions under the agreement when it refused to entertain a bid
 9   from Teva, which is all the law requires to restart the clock. Samsung, 747 F.3d at 1203-04.
10   II.      TEVA’S ORANGE BOOK CLAIM IS PLAUSIBLE AND TIMELY.

11            Defendants do not dispute that the ‘348 and ‘495 patents were improperly listed in the Orange

12   Book, and they do not dispute that Corcept knew those patents were ineligible, but listed them anyway

13   in order to delay Teva’s FDA approval and launch. (¶¶83-100.) Nor could they. In fact, in 2019,

14   Corcept’s CFO publicly “admitted that the ‘348 and ‘495 patents do not have ‘a direct read on the

15   Korlym label’ or any ‘express connection’ to the Korlym label,” which was “a clear admission that

16   Corcept knew the ‘348 and ‘495 patents never should have been listed in the Orange Book, because

17   … FDA regulations have long provided that a brand company is only permitted to list a method-of-

18   use patent in the Orange Book if it can ‘identify with specificity the section(s) and subsection(s) of the

19   approved labeling that describes the method(s) of use claimed by the patent.’” (¶99.)

20            Defendants also do not dispute the anticompetitive consequences: by improperly listing the

21   ‘348 and ‘495 patents in the Orange Book, Corcept unlawfully gave itself the power to trigger an

22   automatic 30-month stay of FDA approval for Teva’s generic. (¶76.) After triggering the 30-month

23   stay, Teva’s generic was barred from receiving FDA approval until August 2020—whereas, if the 30-

24   month stay had not been triggered, Teva would have received FDA approval and launched as early as

25   October 2018, which is when Teva received tentative approval in the real world. (¶79.) Abusing the

26   Orange Book in this way is a recognized species of anticompetitive conduct that qualifies as an

27   “‘improper means’ of maintaining [monopoly] power.” In re Lantus Direct Purchaser Antitrust Litig.,

28   950 F.3d 1, 7 (1st Cir. 2020); UFCW v. Takeda Pharm. Co. Ltd., 11 F.4th 118, 124 (2d Cir. 2021).


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 1          A.      Teva’s Orange Book Claim Alleges Antitrust Injury.
 2          Defendants argue that Teva fails to allege that Corcept’s Orange Book fraud caused Teva to
 3   suffer any injury. This argument is preposterous. The FAC clearly explains that Corcept’s unlawful
 4   Orange Book listings allowed Corcept to trigger an automatic 30-month stay of FDA approval, with
 5   the result that Teva could not receive FDA approval until August 2020 at the earliest. (¶76.) Absent
 6   the stay, the FAC alleges that Teva would have received final FDA approval and launched as early as
 7   October 2018, which is when Teva received tentative approval in the real world. (¶79.)
 8          Defendants’ response is that Korlym was granted orphan drug exclusivity in 2012, and Korlym
 9   was eligible to retain that exclusivity until February 2019—which means that even if Corcept had not
10   illicitly triggered the 30-month stay, Teva would have been unable to obtain final FDA approval until
11   Korlym’s orphan drug exclusivity expired in February 2019. This argument fails for two reasons.
12          First, the FAC includes plausible allegations that Corcept forfeited its orphan drug exclusivity
13   at some point before October 2018. (¶¶77-79.) In the FDA’s October 2018 tentative approval letter
14   to Teva, the FDA listed all of the regulatory obstacles that prevented Teva from receiving final
15   approval at that time—but Korlym’s orphan drug status was not on the list, even though federal
16   regulations require the FDA to “notify [a generic drug company] in writing” if final “approval is barred
17   under [the Orphan Drug Act].” (¶78 (quoting 21 C.F.R. § 316.31(c)).) The FDA’s silence with respect
18   to Korlym’s orphan drug exclusivity raises a plausible inference that Korlym forfeited its exclusivity
19   at some point before October 2018, which is entirely possible under federal regulations. (¶78 & n.51.)
20          Second, even if Korlym had retained its orphan drug exclusivity, that exclusivity would have
21   expired in February 2019, and Teva would have received final FDA approval at that time if Corcept
22   had not illicitly triggered the 30-month stay. “In that scenario, Teva still would have received final
23   FDA approval almost 18 months earlier than it did in the real world, as a result of the 30-month stay
24   triggered by Corcept’s fraudulent listing of the ‘348 and ‘495 patents in the Orange Book.” (¶80.)
25   Hence, regardless of whether Korlym had orphan drug exclusivity through February 2019, Corcept’s
26   Orange Book fraud caused Teva to suffer serious antitrust injury by delaying its approval and launch.
27          Defendants also argue that Teva’s Orange Book claim does not allege antitrust injury because
28   other factors may have contributed to the delayed entry of Teva’s generic, including Teva’s decision

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 1   not to enter the market by launching “at risk” in August 2020. (MTD Br. 9.) This argument fails for
 2   several reasons. First, the law is clear that an antitrust plaintiff “need not rule out ‘all possible
 3   alternative sources of injury,’” and that an “antitrust violation need not be the ‘sole’ cause of the injury
 4   for causation to exist.” Dolphin Tours, Inc. v. Pacifico Creative Serv., Inc., 773 F.2d 1506, 1509 (9th
 5   Cir. 1985). Indeed, “if the plaintiff states sufficient facts to support his allegations that an antitrust
 6   violation has occurred and that he has sustained injury to his business or property, he is generally
 7   entitled to go to the jury on the violation and injury issues.” Solinger v. A&M Recs., Inc., 586 F.2d
 8   1304, 1309 (9th Cir. 1978). On a motion to dismiss, Defendants cannot prevail by insisting that their
 9   antitrust violations may not have been the only reason for Teva’s delayed launch.                Tellingly,
10   Defendants do not cite a single case holding that a competitor’s decision not to launch at risk precluded
11   the competitor from establishing causation with respect to a claim of fraudulent Orange Book listings
12   or sham patent litigation. That is unsurprising, because “[w]hether a generic manufacturer is willing
13   to risk treble damages from a patent infringement suit by selling a generic drug at risk is a generally a
14   factual issue.” UFCW v. Teikoku Pharma USA, Inc., 74 F. Supp. 3d 1052, 1074 (N.D. Cal. 2014).
15           Moreover, it is a red herring for Defendants to focus on Teva’s decision not to launch at risk
16   in the real world, because in the but-for world, Corcept would not have fraudulently listed the ‘348
17   and ‘495 patents in the Orange Book in the first place, and would not have brought sham patent
18   litigations against Teva at all. Hence, in the but-for world, Teva would have received FDA approval
19   either in October 2018 or February 2019, and no patent infringement claims would have been pending
20   against it. Defendants have no basis to dispute that Teva would have launched immediately under
21   those circumstances—which is what the world would have looked like if Corcept had not violated the
22   antitrust laws. (¶¶79-80.) Teva’s allegations are thus more than sufficient to plead that Corcept’s
23   Orange Book fraud caused Teva antitrust injury by delaying Teva’s approval and launch.
24           B.      Teva’s Orange Book Claim Is Timely.
25           Defendants’ statute-of-limitations argument fails for many of the same reasons it fails with
26   respect to Teva’s exclusive dealing claim. First, under the Ninth Circuit’s decisions in Samsung, 747
27   F.3d at 1204-05, and Oliver, 751 F.3d at 1087, the clock did not start until Teva received FDA approval
28   and entered the market, because any suit before then would have been too speculative to support a

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 1   cause of action. Second, Teva could not have filed suit on its Orange Book claim before it obtained
 2   FDA approval and entered the market, because it would have been unable to show antitrust injury and
 3   causation. As the court held in Aventis, 2009 WL 10674453, at *2, “any substantive antitrust claim”
 4   by a competitor in the pharmaceutical industry would fail if the competitor “lacks FDA approval.”
 5   See also, e.g., Ethypharm, 707 F.3d at 230, 237 (holding that a competitor’s “antitrust and sham
 6   litigation claims” fail for lack of antitrust standing “unless and until it acquires … FDA approval”).
 7   Third, the statute of limitations on Teva’s Orange Book claim restarted every time Defendants took
 8   “new and independent act[s]” that “inflict[ed] new and accumulating injury” on Teva. Samsung, 747
 9   F.3d at 1202-04. Such new and independent acts include Defendants’ amendments to their exclusive
10   dealing agreement in 2022 and 2024 (¶138), their numerous and ongoing acts to “steer” patients to
11   Optime (¶¶150-56, 161-66, 167-87), and the sham lawsuits that Corcept brought against Teva between
12   2018 and 2023 (¶¶113-22). All of these acts were “new and independent” of Corcept’s improper
13   Orange Book listings, and they all “inflict[ed] new and accumulating injury” on Teva by exacerbating
14   the harms from Corcept’s Orange Book misconduct, as parts of the same overarching anticompetitive
15   scheme. Samsung, 747 F.3d at 1202-04. Nothing more is required to restart the clock.
16   III.   TEVA’S PATENT LITIGATION CLAIMS ARE PLAUSIBLE AND TIMELY.
17          From 2018 to 2023, Corcept asserted nine patents against Teva in four lawsuits. Corcept
18   voluntarily dismissed all claims based on seven of those patents, and lost resoundingly after trial on
19   the other two. (¶¶120-21.) These claims were all shams and are actionable under the antitrust laws.
20          A.      Corcept’s Infringement Suits Were Shams Under Noerr-Pennington.
21          Defendants cannot secure dismissal by invoking Noerr-Pennington immunity. As an initial
22   matter, “courts rarely award Noerr-Pennington immunity at the motion to dismiss stage, where the
23   Court must accept as true the non-moving party’s well-pleaded allegations.” Sonus Networks, Inc. v.
24   Inventergy, Inc., 2015 WL 4539814, at *2 (N.D. Cal. Jul. 27, 2015). “[W]hether something is … a
25   mere sham for Noerr-Pennington purposes, is a question of fact.” In re Xyrem (Sodium Oxybate)
26   Antitrust Litigation, 555 F.Supp.3d 829, 877 (N.D. Cal. 2021).
27          In any event, the FAC clearly pleads the “sham litigation” exception to Noerr-Pennington.
28   “The sham litigation exception to Noerr-Pennington immunity requires an antitrust plaintiff to

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 1   demonstrate two things: first, that the prior lawsuit upon which the antitrust case is based was
 2   ‘objectively baseless in the sense that no reasonable litigant could realistically expect success on the
 3   merits’ and second, that the subjective motivation behind the prior lawsuit was to directly interfere
 4   with a competitor’s business relationships.” IPtronics Inc. v. Avago Techs. U.S., Inc., 2015 WL
 5   5029282, at *5 (N.D. Cal. Aug. 25, 2015). All of Corcept’s infringement claims meet these criteria.
 6          First, with respect to the ‘348 and ‘495 patents, Corcept’s lawsuit was automatically a sham
 7   because Corcept fraudulently listed those patents in the Orange Book, and then admitted that they did
 8   not “read on the Korlym label.” (¶99.) E.g., In re Buspirone Pat. Litig., 185 F. Supp. 2d 363, 376
 9   (S.D.N.Y. 2002) (suit to enforce improperly listed patents is a sham under Noerr-Pennington). The
10   sham nature of these suits is confirmed by the fact that Corcept voluntarily dismissed its infringement
11   claims in January 2021—and yet, “[b]etween the date Corcept sued Teva under the ‘348 and ‘495
12   patents, and the date Corcept voluntarily dismissed its infringement claims, Corcept had not learned
13   any material new information bearing on the strength of its claims. Corcept’s voluntary dismissal was
14   an acknowledgement that its infringement claims were always objectively baseless and were brought
15   in subjective bad faith for the purpose of delaying FDA approval of Teva’s generic.” (¶¶113-14.)
16          To be clear, it makes no difference that Teva filed an unsuccessful motion to dismiss the ‘348
17   and ‘495 infringement claims. As Defendants acknowledge, the Hatch-Waxman Act provides that
18   filing a Paragraph IV certification is a technical act of patent infringement. (¶42; MTD Br. 1.) The
19   court denied Teva’s motion to dismiss for that reason alone, and “refused to review Teva’s proposed
20   label as part of its analysis.” (¶112.) But the motion-to-dismiss decision “said nothing about whether
21   Corcept’s infringement claims were objectively baseless and pursued in subjective bad faith.” (Id.)
22   For this reason, courts allow sham litigation claims to go forward even when the underlying patent
23   claim was not dismissed, because “[a] complaint can meet all the pleading requirements of the Federal
24   Rules of Civil Procedure and still, as a factual matter, be frivolous.” In re Keurig Green Mountain
25   Single-Serve Coffee Antitrust Litig., 383 F. Supp. 3d 187, 232 (S.D.N.Y. 2019).
26          Corcept’s additional patent infringement claims were likewise shams. The five other patents
27   (in addition to the ‘348 and ‘495 patents) that Corcept asserted and then voluntarily dismissed—the
28   ‘526, ‘242, ‘243, ‘216, and ‘801 patents (¶120)—are easily pled to be shams “because none of those

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 1   patents claim the proposed drug product or FDA-approved indication for Korlym, and none of the
 2   methods claimed in any of those patents can be found anywhere in the Korlym label or Teva’s
 3   proposed mifepristone product label.” (Id.) Defendants do not (and cannot) dispute that allegation.
 4   As such, there was no objective or subjective basis for Corcept to assert any of those patents against
 5   Teva. And again, all of Corcept’s voluntary dismissals occurred without Corcept learning material
 6   new information, which confirms that these patent claims were brought in bad faith and never had an
 7   objectively reasonable chance of success. That is more than enough to overcome Noerr-Pennington.
 8   See, e.g., IPtronics, 2015 WL 5029282, at *8 (“It is enough at this stage that IPtronics has alleged that
 9   Avago filed a complaint based upon documents later admitted to be insufficient to prove infringement
10   and that it pressed those infringement claims using documents and new expert evidence that the ALJ
11   also found insufficient to show what Avago claimed.”); Keurig, 383 F. Supp. 3d at 231-32 (“DPPs go
12   on to detail the deficient bases for the failed patent suits…. These assertions are sufficient to allege
13   objective baselessness.”); Netflix, Inc. v. Blockbuster, Inc., 2006 WL 2458717, at *8 (N.D. Cal. Aug.
14   22, 2006) (“The objective component of Blockbuster’s sham-litigation claim is that Netflix
15   purportedly brought this action on the basis of clearly invalid and overbroad patents.”).
16          Corcept’s infringement claims under the ‘214 and ‘800 patents—the patents that went to trial—
17   were likewise shams. Corcept’s entire case rested on the allegation that Teva “induced infringement”
18   of those patents. Corcept Therapeutics, Inc. v. Teva Pharms. USA, Inc., 709 F. Supp. 3d 138, 142
19   (D.N.J. 2023). But at the time Corcept filed suit under the ‘214 patent, Corcept knew “there was no
20   basis to suggest that Teva’s proposed label would encourage infringement of the ‘214 patent.” (¶116.)
21   The same is true for the ‘800 patent, which is a continuation of the ‘214 patent. (MTD Br. 5.) These
22   allegations are confirmed by the fact that when Corcept and Teva eventually went to trial, in September
23   2023, “Corcept failed to introduce credible record evidence that anyone ha[d] ever previously
24   infringed the asserted claims…. This is notwithstanding the fact that Korlym has been commercially
25   available since April 2012.” Corcept, 709 F. Supp. 3d at 154, 156; id. at 154 (noting “the lack of
26   record evidence demonstrating that anyone has ever practiced the claimed methods, including during
27   the ten-year span since Korlym was approved”). Even Corcept’s own witnesses “did not provide
28   testimony that they had ever practiced Corcept’s patented methods.” Id. at 156. Corcept’s complete

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 1   failure of proof raises a more-than-plausible inference that Corcept knew—at the time it sued—that it
 2   had zero basis to claim infringement, but did so anyway in order to delay Teva’s launch.
 3           It makes no difference that Judge Bumb declined to grant summary judgment against Corcept’s
 4   ‘214 and ‘800 infringement claims. E.g., In re Relafen Antitrust Litig., 346 F. Supp. 2d 349, 363 (D.
 5   Mass. 2004) (“[S]uccessful opposition to a summary judgment motion does not always conclusively
 6   establish the reasonableness of the claim in question.”). Given the complete lack of evidence to
 7   support Corcept’s ‘214 and ‘800 infringement claims, Teva has pled more than enough to defeat
 8   Noerr-Pennington. E.g., Competitive Techs. v. Fujitsu Ltd., 286 F. Supp. 2d 1118, 1152-53 (N.D. Cal.
 9   2003) ( “‘sham exception’ under Noerr-Pennington” was satisfied where complaint not only alleged
10   “that the action was baseless, but also alleg[ed] specific facts in support of that allegation”); IPtronics,
11   2015 WL 5029282, at *8; Keurig, 383 F. Supp. 3d at 231-32; Netflix, 2006 WL 2458717, at *8.
12          In addition, Noerr-Pennington is inapplicable to each of these suits because, together, they
13   represented “a series of lawsuits” brought “without regard to the merits and for the purpose of injuring
14   a market rival.” Freeman v. Lasky, Haas & Cohler, 410 F.3d 1180, 1184 (9th Cir. 2005).
15          B.      Corcept’s Infringement Suits Were Part Of A Larger Anticompetitive Scheme.
16          Even if Corcept’s infringement lawsuits were not shams, they would still be actionable because
17   “constitutionally protected lawsuit[s]” can give rise to antitrust liability if they are “part of a larger
18   anticompetitive scheme.” Arista Networks, Inc. v. Cisco Sys. Inc., 2018 WL 11230167, at *9 (N.D.
19   Cal. May 21, 2018). Specifically, “otherwise protected litigation can be a part of an ‘anticompetitive
20   scheme’” if “other aspects of the scheme independently produce anticompetitive harms. Once this
21   step has been established, the court should ask whether the accused patent litigation was causally
22   connected to these anticompetitive harms. If yes, an antitrust plaintiff may then include good faith
23   patent litigation as part of the anticompetitive scheme.” Id.
24          Teva’s allegations easily satisfy both parts of that test. To satisfy step one, the FAC repeatedly
25   alleges that Corcept’s infringement lawsuits were part of a “multifaceted scheme to prolong Corcept’s
26   monopoly by stifling competition from Teva at every turn.” (¶5; see also, e.g., ¶¶1, 4, 6, 9, 10, 57,
27   203, 215, 217, 218, 222.) And there can be no question that “other aspects of the scheme”—namely,
28   Defendants’ exclusive dealing and bribery campaign—“independently produce anticompetitive

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 1   harms.” Arista, 2018 WL 11230167, at *9; id. at *14. Step two is also clearly satisfied. The question
 2   at step two is whether Corcept’s lawsuits were “arguably causally connected to the harms produced
 3   by” the anticompetitive conduct discussed at step one. Id. at *14. The answer is plainly yes: the FAC
 4   alleges that Corcept’s patent lawsuits were a key component of Defendants’ overall scheme to
 5   unlawfully maintain Corcept’s monopoly. Corcept’s lawsuits caused a delay in Teva’s receipt of FDA
 6   approval and launch, which allowed Corcept and Optime to have years alone on the market, thus
 7   enabling them to entrench prescribers’ reliance on Optime and fortify the anticompetitive effects of
 8   their exclusive dealing agreement. (¶¶152-54, 161.) Their time alone on the market also allowed them
 9   more opportunities to pay inducements to prescribers, shoring up their bulwark against future generic
10   competition. (¶¶167-87.) In both ways, Corcept’s infringement suits were “causally connected to the
11   harms produced” by the other aspects of Defendants’ scheme. Arista, 2018 WL 11230167, at *14.
12   Even if those lawsuits were not shams, Teva can therefore pursue them as part of this case. Id.
13          C.      Teva’s Patent Litigation Claims Allege Antitrust Injury.
14          Defendants repeat the “antitrust injury” argument they made in response to Teva’s Orange
15   Book claim: that other causal factors (like Korlym’s orphan drug exclusivity and Teva’s decision not
16   to launch at risk in August 2020) may have contributed to the delay in Teva’s market entry. As
17   discussed, this argument fails because it ignores Teva’s well-pled allegations that Corcept forfeited its
18   orphan drug exclusivity, and that Corcept’s infringement suits caused significant delay regardless
19   (¶¶77-80); it ignores the legal standard that a defendant’s anticompetitive conduct need not be the only
20   causal factor to satisfy causation, Dolphin Tours, 773 F.2d at 1509; Solinger, 586 F.2d at 1309; and it
21   ignores that in the but-for world—a world in which Corcept followed the law—Teva would not have
22   needed to launch at risk, because Corcept would not have brought its sham litigations in the first place.
23          D.      Teva’s Patent Litigation Claims Are Timely.
24          Defendants argue that Teva’s patent litigation claims are untimely, insofar as they focus on
25   lawsuits filed before June 2020. (This argument does not apply to Teva’s claims related to Corcept’s
26   ‘800 and ‘801 patents.) But all of Teva’s claims are timely, for reasons discussed at length above.
27          First, the clock did not start running until (at the earliest) Teva had FDA approval and entered
28   the market, because until then, Teva did not have a cause of action and would not have been able to

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 1   allege antitrust injury and causation. Aventis, 2009 WL 10674453, at *2 (“any substantive antitrust
 2   claim” by competitor would fail where competitor “lacks FDA approval”); Ethypharm, 707 F.3d at
 3   230, 237 (competitor’s “sham litigation claims” fail for lack of antitrust standing “unless and until it
 4   acquires … FDA approval”). Separately, the clock did not start before Teva entered the market
 5   because any suit before then would have been too speculative. Samsung, 747 F.3d at 1204-05; Oliver,
 6   751 F.3d at 1087. In addition, “an antitrust claim based on baseless litigation requires proof that the
 7   litigation was unsuccessful, which can only be determined upon the termination of the initial action.”
 8   Chemi SpA v. GlaxoSmithKline, 356 F. Supp. 2d 495, 500 (E.D. Pa. 2005). Here, it was only in January
 9   2021 that Corcept voluntarily dismissed its claims under the ‘348 and ‘495 patents, and December
10   2023 that Teva prevailed on the patents that went to trial. (¶¶113, 121.) Defendants cite Pace
11   Industries, Inc. v. Three Phoenix Co., 813 F.2d 234, 237 (9th Cir. 1987), as contrary authority, but that
12   case did not involve a sham litigation claim at all; instead, it involved a suit to enforce an allegedly
13   illegal contract. Finally, Defendants committed numerous overt acts that restarted the clock on Teva’s
14   patent litigation claims. Each suit between 2018 and 2023 was an “overt act” that restarted the clock
15   on all of Teva’s patent litigation claims. See Samsung, 747 F.3d at 1202-03. The same is true of
16   Defendants’ acts to “steer” patients to Optime, and their amendment and enforcement of their
17   exclusive dealing agreement, all of which are “new and independent act[s]” that have “inflict[ed] new
18   and accumulating injury” on top of the harms from Corcept’s patent litigation misconduct. Id. at 1202-
19   04. Teva’s patent litigation claims are timely for any of these independent reasons.
20   IV.    TEVA’S BRIBERY AND KICKBACK CLAIMS ARE PLAUSIBLE.
21          The FAC alleges in great detail that Corcept has been making illicit payments to prescribers
22   for years, to induce them to continue routing prescriptions to Optime and selecting brand Korlym
23   notwithstanding the availability of Teva’s lower priced generic. These allegations are supported by
24   an extensive analysis of publicly available payment and prescription data, and are reinforced by reports
25   from investigative journalists detailing “substantial evidence of illegal payments paid by Corcept” to
26   Korlym prescribers (¶179), allegations from whistleblowers in a securities class action that “Corcept’s
27   payments have been used to illicitly compensate physicians for prescribing brand Korlym” (¶169),
28   and an active investigation by the U.S. Attorney’s Office for the District of New Jersey to determine

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 1   “whether Corcept committed criminal or civil violations with respect to ‘the sale and promotion of
 2   Korlym, Corcept’s relationships with and payments to health care professionals who can prescribe
 3   or recommend Korlym and prior authorizations and reimbursement for Korlym.’” (¶185.)
 4          Defendants’ main response is to point out that Teva also makes payments to prescribers, in
 5   connection with legitimate speak programs and the like. This is not a serious argument. Payments to
 6   prescribers can be legitimate, but sometimes they are not—sometimes they are unlawful payments by
 7   a manufacturer to induce prescribes to favor the manufacturer’s products over competitors. The FAC’s
 8   detailed allegations demonstrate a plausible basis to suspect that Corcept’s payments fall into the latter
 9   category. Defendants cannot secure dismissal of this claim by merely denying the well-pled facts on
10   which the claim is based. E.g., United States, ex rel. Solis v. Millennium Pharms., Inc., 2015 WL
11   1469166, at *7 (E.D. Cal. Mar. 30, 2015) (“The SAC plainly makes averments [regarding bribery and
12   kickbacks] that survive a pleadings challenge.”); Natural Immunogenics Corp. v. Newport Trial Grp.,
13   2016 WL 11520711, at *11 (C.D. Cal. Aug. 1, 2016) (plaintiffs’ allegations that defendants “paid or
14   promised to pay” individuals “in exchange for their promise” were “sufficient to allege bribery”).
15          Moreover, Defendants ignore the FAC’s allegations that the payments made by Corcept “are
16   astronomical and far outside the norm.” (¶184.) As detailed in the FAC, public data shows Corcept
17   paying prescribers many multiples—sometimes double-digit, or even triple-digit multiples—of what
18   all other manufacturers combined paid to prescribers in the same specialty over the same time periods.
19   (¶184.) And although Defendants say these allegations are without citation or support (MTD Br. 21),
20   the CMS Open Payments website reports the “Specialty Mean” for each payment recipient, which
21   allows one to compare the payments received by a specific prescriber to payments received by
22   comparable prescribers. These highly suspicious, abnormal payments have drawn the scrutiny of
23   federal prosecutors, journalists, and whistleblowers. They foreclose Defendants’ attempt to deflect
24   Teva’s allegations by insisting that Corcept was behaving just like any other pharmaceutical company.
25          Defendants also assert that competition has not been harmed by the unlawful bribes and
26   kickbacks described in the FAC. (MTD Br. 24-25.) This response is also a non-starter. Numerous
27   courts have held that “[b]ribery can implicate the Sherman Act ... when it is directed toward
28   suppressing competition in the market generally.... [I]f potential competitors are unable even to enter

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 1   the market and try to sell their products because of bribes, there is undoubtedly a harm to competition.”
 2   In re EpiPen Direct Purchaser Litig., 2021 WL 147166, at *24 (D. Minn. Jan. 15, 2021); Mylan, 666
 3   F. Supp. 3d at 296-97 (“[W]hen bribery is offered to support a Sherman Act claim, the correct inquiry
 4   is ... whether [the defendant’s] practices hobbled competition.”); Doron Precision Sys., Inc. v. FAAC,
 5   Inc., 423 F. Supp. 2d 173, 185 (S.D.N.Y. 2006) (same). The FAC clearly alleges that Defendants have
 6   engaged in a long-running, widespread scheme to hobble competition by paying bribes and kickbacks
 7   to prescribers. (¶¶167-87.) Defendants dispute the extent of the scheme—e.g., how many prescribers
 8   were illicitly induced to favor Korlym over Teva’s generic—but those are factual questions that require
 9   discovery. Given that there is undoubtedly a plausible basis to infer the existence of such a scheme
10   and resulting harm to competition, Teva is entitled to uncover the extent of it through discovery.
11   V.      TEVA’S STATE-LAW CLAIMS ARE PLAUSIBLE.
12           Defendants make numerous arguments about Teva’s state-law claims, but these arguments all
13   miss the mark. First, with respect to the UCL, “[b]ecause [Teva] ha[s] sufficiently stated a claim
14   under the Sherman Act … , [Teva] ha[s] also stated a claim under the UCL’s unfair and unlawful
15   prongs.” B & R Supermarket, Inc. v. Visa, Inc., 2016 WL 5725010, at *12 (N.D. Cal. Sept. 30, 2016).
16   Second, with respect to Section 16600, “Section 16600 … [has] been applied in cases considering
17   agreements to secure monopolies or fix prices—the sort of context addressed by section 1 of the
18   Sherman Act.” Meta Platforms, Inc. v. BrandTotal Ltd., 605 F.Supp.3d 1218, 1250 (N.D. Cal. 2022).
19   Third, with respect to Teva’s omnibus antitrust and consumer protection claims, these claims are
20   adequately pled because Teva “ha[s] been clear about what wrongdoing has allegedly been committed
21   by” Defendants. Staley v. Gilead Sciences, Inc., 446 F.Supp.3d 578, 633 (N.D. Cal. 2020). Finally,
22   with respect to Teva’s unjust enrichment claim, the FAC “include[s] antitrust claims under the
23   Sherman Act,” which means Teva “ha[s] invoked a valid theory of recovery” and thus “claims for
24   ‘unjust enrichment’ [can] proceed.” In re TFT-LCD (Flat Panel) Antitrust Litigation, 2011 WL
25   4345435, at *1, *4 (N.D. Cal. Sept. 15, 2011).
26                                              CONCLUSION
27           The motion to dismiss should be denied. If the motion is granted in any respect, Teva should
28   be given leave to amend. Eminence Cap., LLC v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir. 2003).

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 1   Dated: November 13, 2024      Respectfully submitted,
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 1                                       FILER’S ATTESTATION
 2          Pursuant to Civil L.R. 5-1(i)(3), regarding signatures, I, Devora Allon, attest that concurrence
 3   in the filing of this document has been obtained.
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                                                          /s/ Devora W. Allon
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                                                          Devora W. Allon
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 1                                       CERTIFICATE OF SERVICE
 2
            I hereby certify that on November 13, 2024, I caused to be filed the foregoing document with
 3
     the United States District Court for the Northern District of California using the CM/ECF system
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 6
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 7                                                         Devora W. Allon
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